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                                      OFFICE OF THE CLERK


PATRICIA S. DODSZUWEIT       UNITED STATES COURT OF APPEALS                          TELEPHONE

     CLERK                             FOR THE THIRD CIRCUIT                      215-597-2995
                                 21400 UNITED STATES COURTHOUSE
                                         601 MARKET STREET
                                      PHILADELPHIA 19106-1790
                                Website: www.ca3.uscourts.gov

                                      December 6, 2024


RE: Petitions for Permission to Appeal
Case Numbers: 24-8044 & 24-8045


PACER account holders are required to promptly inform the PACER Service Center of
any contact information changes. In order to not delay providing notice to attorneys or pro
se public filers, your information, including address, phone number and/or email address,
may have been updated in the Third Circuit database. Changes at the local level will not
be reflected at PACER. Public filers are encouraged to review their information on file
with PACER and update if necessary.


To All Parties:

The Clerk has received two petitions for leave to appeal docketed at Nos. 24-8044 and
24-8045.

The two $600 fees paid for these petitions have been refunded. No fee is due for a
petition for permission to appeal. If a petition is granted, fees will be required for each
resultant appeal. See Fed. R. App. P. 5(d).

All inquiries should be directed to your Case Manager in writing or by calling the Clerk’s
Office at 215-597-2995. This Court’s rules, forms, and case information are available on
our website at http://www.ca3.uscourts.gov.

Counsel for Petitioners:

As counsel for Petitioners you must file:
1. Application for Admission (if applicable);
2. Appearance Form;
3. Disclosure Statement for each Petitioner.

These forms must be filed within seven (7) days from the date of this letter.
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Should the Court grant a petition for permission to appeal, additional forms will be
required.

Any response in opposition must be filed within 10 days after the petition was served.
All responses must be accompanied by an Appearance Form and Disclosure
Statement.

The petitions and any response(s) will be forwarded to the Court for disposition. The
parties will be advised when an order is entered by the Court. Parties who do not intend
to participate in the petition must notify the Court in writing.


Very truly yours,
Patricia S. Dodszuweit, Clerk


By: s/ Pam
Case Manager
267-299-4943


cc: all counsel
